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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

  JOSEPH B. MURPHY, an individual,          )
                                            )
       Plaintiff,                           )
                                            )
  v.                                        )     Case No. 5:15-cv-00574-JSM-PRL
                                            )
  CREDIT PROTECTION                         )
  ASSOCIATION, L.P., a Texas limited        )
  partnership                               )


                              NOTICE OF SETTLEMENT

         Plaintiff, JOSEPH B. MURPHY, through the undersigned hereby notifies this

  Court that a settlement has been reached between the parties, pending final execution of

  settlement documents and releases.



                                            Respectfully submitted,

  Dated: March 22, 2016                      s/ Scott D. Owens
                                            Scott D. Owens, Esq.
                                            SCOTT D. OWENS, P.A.
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                                            Hollywood, FL
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                                            scott@scottdowens.com
                                            Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 22, 2016, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
  foregoing document is being served this date via U.S. mail and/or some other
  authorized manner for those counsel or parties below, if any, who are not authorized to
  receive electronically Notices of Electronic Filing.


                                           By: s/ Scott D. Owens
                                              Scott D. Owens, Esq.
